                  IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION

REFORMED THEOLOGICAL SEMINARY
                                               CIVIL ACTION NO.: ___________
RTS,

             Plaintiff,                              NOTICE OF REMOVAL
                                                  OF ACTION PURSUANT TO 28
v.                                                U.S.C. § 1441(b) (DIVERSITY)
HARTFORD FIRE INSURANCE
COMPANY,

             Defendant.

      Defendant,    Hartford   Fire   Insurance   Company     (“Hartford   Fire”   or

“Defendant”), hereby gives notice, pursuant to 28 U.S.C. §§ 1332, 1441(b), and

1446, that it has removed the above-captioned matter to the United States District

Court for the Western District of North Carolina, Charlotte Division. A copy of this

Notice is being filed with the Clerk of the Superior Court of Mecklenburg County,

North Carolina, pursuant to 28 U.S.C. § 1446(b). In support of this Notice,

Defendant states the following:

            PROCEDURAL HISTORY AND CASE BACKGROUND

      1.    This civil action arises out of a commercial property insurance policy

and contract entered between Hartford Fire and Reformed Theological Seminary

Rts (“Reformed” or “Plaintiff”), and whether Hartford Fire is required to indemnify

Plaintiff for the damages it alleges it incurred, pursuant to the insurance contract

or any other applicable law.
                                         1



      Case 3:24-cv-00490-FDW-SCR Document 1 Filed 05/21/24 Page 1 of 7
      2.     On or about March 19, 2024, Plaintiff filed its complaint against

Defendant in the Superior Court of Mecklenburg County, North Carolina (the

“Complaint”). The Complaint was assigned case no. 24CV013299-590 (the “State

Court Action”). See Exhibit 1, copy of Plaintiff’s Complaint.

      3.     Plaintiff thereafter served the Complaint upon Hartford Fire via the

North Carolina Department of Insurance (“NCDOI”). See Exhibit 2, Acceptance of

Service Letter from NCDOI. Hartford Fire received actual service of the Complaint

from the NCDOI on April 29, 2024. See id.

      4.     The time for Hartford Fire to respond to the Complaint or remove this

action to Federal Court has not yet expired.

      5.     In sum, the Complaint alleges that Hartford Fire issued a homeowners

insurance policy to Plaintiff, numbered 43 UUN DF2645 (the “Policy”); that such

Policy provided certain coverage for the Plaintiff’s property at 2101 Carmel Rd

Charlotte, NC 28226 [sic] (the “Property”); that following a loss event on June 16,

2022, which Plaintiff alleges cased damage to the Property, Plaintiff submitted an

insurance claim to Hartford Fire that Hartford Fire did not pay. See Exhibit 3, the

Policy. See also Complaint, ¶¶4-5.

      6.     Specifically, Plaintiff alleges Breach of contract against Hartford Fire.

Id. at ¶¶ 6-14.

      7.     Plaintiff seeks actual damages in an amount in excess of

$416,237.02. See Exhibit 4, the Pre-Suit Demand Letter from Mr. Matheny.
                                          2



      Case 3:24-cv-00490-FDW-SCR Document 1 Filed 05/21/24 Page 2 of 7
      8.     Finally, the Complaint seeks an unidentified amount of interest,

attorneys’ fees, and costs. Id., at ¶ 14.

      9.     In accordance with the foregoing, including 28 U.S.C. §§ 1332(a)(1),

1446 (b)(3), and 1446 (c)(1), Defendant now removes this matter to this Court

based upon diversity jurisdiction.

               JURISDICTIONAL BASIS UNDER 28 U.S.C. § 1332

      10.    Under U.S.C. § 1332(a)(1), this Court has “original jurisdiction where

the matter in controversy exceeds the sum or value of $75,000, exclusive of

interest and costs, and is between … citizens of different States ….” Id. Here, both

criteria are met.

      A.     Complete Diversity of Citizenship Exists.

      11.    According to the Complaint, Plaintiff is a North Carolina corporation

with its principal place of business in Mecklenburg County, North Carolina. See

Exhibit. 1, Compl. ¶2.

      12.    Defendant is a corporation organized and existing under the laws of

the State of Connecticut, with its principal place of business in East Hartford,

Connecticut.

      13.    As Plaintiff and Defendant are the only Parties to this Action and are

citizens of different states, complete diversity between the Parties exists.

      B.     The Amount in Controversy Exceeds $75,000.00.

      14.    As indicated above, the amount in controversy exceeds $75,000.00,
                                            3



      Case 3:24-cv-00490-FDW-SCR Document 1 Filed 05/21/24 Page 3 of 7
exclusive of interest and costs.

      15.    Plaintiff alleges entitlement to an amount in excess of $416,237.02 in

damages. See supra.

      16.    Plaintiff’s prayer for relief also includes interest, attorneys’ fees and

costs. See supra.

      17.    Here, without including attorneys’ fees or any other damages,

Plaintiff’s claimed damages total at least $416,237.02, in excess of the

jurisdictional threshold.

      18.    Accordingly, the requirements of 28 U.S.C. §1332 are satisfied, as the

amount in controversy exceeds $75,000.00.

                               LEGAL ARGUMENT

      19.    As stated above, the amount in controversy in this matter exceeds

$75,000.00, exclusive of interest and costs, and this matter is between citizens of

different states. Accordingly, this Honorable Court has jurisdiction pursuant to 28

U.S.C. §§ 1332 and 1441.

      20.    Pursuant to 28 U.S.C. §1441(a), this Court is the proper venue for

removal because it is the district and division embracing the place where the

originally filed State Action is pending. Defendant, though, does not waive its right

to contest venue, including pursuant to 28 U.S.C. §1404.

      21.    Pursuant to 28 U.S.C. §1446(d), a copy of this Notice of Removal is

being served upon counsel for the Plaintiff and shall be contemporaneously filed
                                          4



      Case 3:24-cv-00490-FDW-SCR Document 1 Filed 05/21/24 Page 4 of 7
with the Clerk’s Office for the Superior Court of Mecklenburg County, North

Carolina.

      22.    Copies of the Notice of Removal to Opposing Counsel and the Notice

of Filing the Notice of Removal, both of which shall be filed in the State Court

action, are attached hereto as Exhibits 5 and 6, respectively.

      23.    This Notice of Removal is not a waiver of Defendant’s defenses,

including but not limited to the right to contest venue, nor should it be understood

or construed as a waiver of any defense Defendant may have against any of the

allegations in the Complaint, or as a general appearance or waiver of any defense

based upon lack of jurisdiction or for failure to state a claim.

      WHEREFORE, Defendant, Hartford Fire Insurance Company, requests that

the above-captioned action be removed from the Superior Court, Mecklenburg

County, North Carolina, to the United States District Court for the Western District

of North Carolina, Charlotte Division.

      Respectfully submitted, this the 21st day of May, 2024.

                                     BUTLER WEIHMULLER KATZ CRAIG LLP


                                     _/s/ L. Andrew Watson_______
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                                           5



      Case 3:24-cv-00490-FDW-SCR Document 1 Filed 05/21/24 Page 5 of 7
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                               6



Case 3:24-cv-00490-FDW-SCR Document 1 Filed 05/21/24 Page 6 of 7
                          CERTIFICATE OF SERVICE

      I hereby certify that on the 21st day of May, 2024, I served a true and correct

copy of the foregoing NOTICE OF REMOVAL by placing the same, postage

prepaid, in the United States Mail and via email addressed to the following

persons, as well as filing the same with the above-captioned court via ECF Pacer:

                           Raford W. Bussey
                           Holder, Padgett, Littlejohn + Prickett, LLC
                           P.O. Box 1804
                           Greenville, SC 29602
                           rubssey@hplplaw.com
                           Counsel for Plaintiff



                         _/s/ L. Andrew Watson_______
                                L. Andrew Watson




                                         7



     Case 3:24-cv-00490-FDW-SCR Document 1 Filed 05/21/24 Page 7 of 7
